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  12                        UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF CALIFORNIA
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  14   Ms. L., et al.,                                     Case No. 18-cv-00428-DMS-MDD
  15                         Petitioner-Plaintiff,
       v.
  16                                                       Date Filed: August 16, 2018
       U.S. Immigration and Customs Enforcement
  17   (“ICE”), et al.,
  18                                                       NOTICE REGARDING
                           Respondents-Defendants.         DEFENDANTS’ PLAN FOR
  19                                                       REUNIFYING REMOVED
                                                           PARENTS
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 1         Plaintiffs submit this filing with respect to the Government’s Reunification
 2   Plan. The parties have reached agreement except as to one significant issue
 3   regarding removed parents who may wish to return to be reunited with their
 4   children.
 5   1.    The Plan does not address or resolve the right of removed parents to be
 6   reunified with their children in the United States.1 The Reunification Plan assumes
 7   that all removed Class Members who are reunified will be reunified in their country
 8   of origin (“COO”), not the United States. Plaintiffs expect that many parents who
 9   have been separated from their children for many months will seek rapid
10   reunification in the COO. Plaintiffs emphasize that this issue will not prevent the
11   parties from beginning swift reunification efforts and should not delay the
12   implementation of a reunification plan that covers reunifications in the COO.
13   Indeed, Plaintiffs and the Government have both been reaching out to removed Class
14   Members to ascertain their reunification preferences, and the Government has
15   presumably been completing the safety and parentage procedures described as
16   “Process 1” in its draft plan.
17         However, some separated families can only be made whole by returning the
18   parent to the United States. See Joint Status Report, Dkt. 171, at 15-16 (Aug. 2,
19   2018) (noting that reunifications might need to occur either in the COO or the
20   United States).
21         For example, in some cases, removed parents may not have availed
22   themselves of their right to seek asylum because they were misled or coerced into
23   believing that asserting their asylum claim would delay or preclude reunification.
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25          Plaintiffs do not understand Defendants’ submission (ECF 189) to suggest that
26   the Parties have agreed that no parent may be returned. The parties expressly agreed
     that this issue would be resolved by the court and that the current agreement is
27   contingent on that issue being decided by the Court. However, as noted above,
28   Plaintiffs stress resolution of this issue need not delay all processes to locate parents
     or effectuate swift reunification in the country of origin.
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 1   Cf. Govindaiah Decl., Ex. 57, ¶ 11; Shepherd Decl. ¶ 8-9. A subset of these parents
 2   may wish to reinstate their right to seek asylum by returning to the United States.
 3   There also may be particular issues with parents who were removed in the weeks
 4   after this Court’s June 26 preliminary injunction order. On August 10, the
 5   Government disclosed a list of removed parents. Government data show that 73 of
 6   the parents on that list with children in ORR custody were removed on July 3 or
 7   later. 31 were removed on July 3 alone, 19 on July 16, 3 on July 20, and 1 on July
 8   24.
 9         In addition, the Plaintiffs in the M.M.M. litigation have argued that children
10   who came to the United States with their parents have a right to seek asylum either
11   alone or jointly with their parents, and a further right to their parents’ assistance in
12   presenting their asylum claims. Thus, if the M.M.M. plaintiffs prevail, parents and
13   their children can present their asylum claims as they would have been able to had
14   the Government not separated them. In such cases, reunification in the United States
15   may be required.
16   2.    In addition to that one area of disagreement, Plaintiffs make one additional
17   point. Plaintiffs agree to the plan as revised through negotiations. Plaintiffs note,
18   however, that the effectiveness of the plan hinges on both parties acting in good
19   faith. In particular, Plaintiffs wish to note one part of the plan agreed to is based on
20   the assumption that the Government will act in good faith. In Process 3 (“Determine
21   Parental Intention for Minor”), the Reunification Plan now states that “The
22   ACLU/Steering Committee agrees to make best efforts to contact all parents within
23   10 days of receiving contact information (or within 10 days of the date on which the
24   Court approves this Plan, whichever is later),” and that if “the ACLU/Steering
25   Committee is not able to contact a parent within 10 days after exhausting its best
26   efforts to do so, the ACLU/Steering Committee shall promptly meet and confer to
27   try to agree on a reasonable extension of this time period.” Plaintiffs have agreed to
28   this provision on the assumption that extensions will be granted when, for example,
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 1   the government has yet to provide an operative phone number or address and
 2   Plaintiffs have been unable to obtain operative numbers or addresses on their own;
 3   phone numbers provided are for family members who would need to pass messages
 4   on to the Class Member; or despite best efforts, e.g., Plaintiffs have not received a
 5   return phone call from a Class Member, which can occur if a Class Member goes
 6   into hiding, or understandably mistrusts outreach efforts in the aftermath of having
 7   been separated from their child and removed.
 8
 9   Dated: August 16, 2018                    Respectfully Submitted,
10                                             /s/Lee Gelernt
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 1                              CERTIFICATE OF SERVICE
 2
             I hereby certify that on August 16, 2018, I electronically filed the foregoing
 3
       with the Clerk for the United States District Court for the Southern District of
 4
       California by using the CM/ECF system. A true and correct copy of this brief has
 5
       been served via the Court’s CM/ECF system on all counsel of record.
 6
                                                   /s/ Lee Gelernt
 7
                                                   Lee Gelernt, Esq.
 8                                                 Dated: August 16, 2018
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